Case 2:15-cv-02171-FMO-FFM Document 112 Filed 02/27/17 Page 1 of 20FILED
                                                                    Page ID #:1917
                                                                                       CLERK, U.S. DISTRICT COURT


                                                                                                   FEB 27 2017
 1
                                     CLERK OF COURT
 2              UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
                                                             CENTRAL DISTRICT OF CALIFORNIA
                              312 NORTH SPRING STREET ROOM G-8
 3                                  LOS ANGELES,CA 40012                      vdr
                                                               BY: ___________________ DEPUTY

 4
     BRIAN WARNER                                             Case No.2:15-cv-02171(C.D. Ca1);
 5
                    Plaintiff,
 6
     vs.
                                                             OBJECTION
 7
     TOYOTA SALES USA,INC.                                   OBJECTOR:
 8
                    Defendant                                       ISAAC K.PEREZ/ DALILA PEREZ
 9                                                                     3449 WEST 12~ LANE
                                                                         YUMA AZ.85364
10                                                                        (928)920-5313

11

12

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14

15

16                   Dated this 7tn of February 2017


17                         RUST IS CANCER THAT SPREADS TEIROUGHOUT

18
              It is e~ctensively present on my 2006 Toyota Tacoma VIN # 3TMJU62NX6M011310 frame.
19
                     The rust has made its way past the frame and to other components of my truck.
20                       I have included with my objection pictures ofthese other areas of rust.

21                I have contacted my Local Toyota Dealership and Toyota Motor Corp on numerous
           Occasions, regarding my concerns and complaints but received no efforts or solutions on their part.
22
                  I have spent a lot oftime and money prolonging the effects ofthe rust on my truck.
23
                        *SANDBLASTING AND UNDERCOATING THE FRAME
24
              *REMOVING RUST,PRIMERING AND PAINTING INFECTED BODY PANELS
25
                 *REMOVING AND RE                 NG RUSTED COMPONENTS AS NEEDED
26

                           Signed


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                        Case 2:15-cv-02171-FMO-FFM Document 112 Filed 02/27/17 Page 2 of 20 Page ID #:1918




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CARFAX  Vehicle History Report for this
 Case 2:15-cv-02171-FMO-FFM             2006 TOYOTA
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 Vehicle Information:
 2006 TOYOTA TACOMA                                                No accident /damage reported to CARFAX
 PRERUNNERDOUBLECAB                                                                                                                                              k
 VIN: 3TMJU62NX6M011310                                                                                                               »k
 CREW PICKUP                                          ;, ~~        6 Previous owners                                             ~'
 4AL V6 FI DOHC 24V
 REAR WHEEL DRIVE
 Standard Equipment ~.Safetx.Options                               At least 1 open recall                                    ~                       0'

  CARFAX Report Provided By:                           ~                                                                               a
m Bill Alexander Flightline Mazda Cadillac                         22 Service records available                                  `..,.r✓'
  1350E 32nd St
  Yuma. AZ 85365                                                                                                                                          . ..
  928-314-3400                                       ;~«`          106,552 Last reported odometer
  www.flightlinemazda.com                            T3,~s                 reading

                                                                   Worth $260 more than                                          ~~             ~
                                                     '
                                                     4~            retail book value

This CARFAX Vehicle History Report is based only on information supplied to CARFAX and available as of 6/27/15 at 2:06:21 PM (EDT).
Other information about this vehicle, including problems, may not have been reported to CARFAX. Use this report as one important tool,
along with a vehicle inspection and test drive, to make a better decision about your next used car.

                                                           TM
     ~~~Q~ Price Calculator
 Adjust the value of this 20Q& Tayaga Tacoma Prerunnerdaublecab based on the information available in khis report

  1)Retail Book Valus                              2) CARFAX Price AdjustmentT"'                      3} Adjusted Retail Vafue
       __           ~~

        $                14,956                                    + $260                                                 $15,216
        En#er retail book value here          ',                Above retail book value                             Adjusted Retail Value


                 Start by entering the                               This vehicle is avorth                               Compare adjusted retail
  ;~ ,~,,,,,     retail book value from a                            mare than average,                                   value to seller's asking
    ~~           pricing guide website.      ',                      based on information                   /'''~         price when making
    ~~~•,                                                            in this report.                                      your derision,




 DD~O~I~I Ownership History                                                          _.A Owners 1-4             Owner 5                       C)rraner 5
 The number of owners is estima#ed
 Year purchased                                                                  ?       2006                       2013                      2013
 Type of owner                                                                        See Details             Personal                      Personal
                                                                                                      3..
 Estimated length of ownership                                                        6 yrs. 10 mo           3 months                      1 yr. 10 mo.
                                                                                                .,             ..
 Owned in the following states/provinces                                             Texas, Arizona   `       Arizona                       Arizona
                                                                                 i      _      _       ._
 Estimated miles driven per year                                                       See Details                  ---                        ---
 Last reported odometer reading                                                  E      93,494        ~       103,367                       106.55?
  ........... .. .


     nn~nr                                                                      ~       Owners 1-4    ~      ~ Owner 5                        u~~vner S




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 ~~`"'~~'"~~~~`'~~~ Title History
 CARFAX guarantees the information in this section
                                                                                Guaranteed               Guaranteed            Guaranteed
 Salvage ~ Junk ~ Rebuilt ~ Fire ~ Flood ~ Hail ~ Lemon
                                                                                No Problem         '     No Problem            No Problem

                                                                                Guaranteed               Guaranteed            Guaranteed
 Not Actual Mileage ~ Exceeds Mechanical Limits
                                                                                No Problem               No Problem     €      No Problem

            GUARANTEED -None of these major title problems were reported by a state Department of Motor Vehicles
     00~~00 (DMA. If you find that any of these title problems were reported by a DMV and not included in this report,
            CARFAX will buy this vehicle back. Register ~ View Terms


                                  .~_.                                                   _.._ ..
 ~Q~Q~Q~ Additional History                                                      Owners 1-A                 Qwner 5              Owner S
~ Not all accidents !issues are reported to CARFAX
 Total Loss                                                                       No Issues                No Issues           No Issues
  No total loss reported to CARFAX.                                               Reported                 Reported          ~ Reported

 Structural Damage                                                                No Issues                No Issues            No Issues
  No structural damage reported to CARFAX.                                        Reported                 Reported             Reported

 Airbag Deployment                                                         I      No Issues                No Issues            No Issues
  No airbag deployment reported to CARFAX.                                        Reported                 Reported     I,      Reported
                                                                           f
 Odometer Check                                                                   No Issues            ~g No Issues             No Issues
  No indication of an odometer rollback.                                          Indicated            i,;~ Indicated           Indicated

 Accident /Damage                                                          j      No Issues                No Issues            No Issues
  No accidents or damage reported to CARFAX.                                      Reported                 Reported             Reported

 Manufacturer Recall                                                              No Recalls         n.,. No Recalls             Recall
  At least 1 open recall reported.                                                Reported         j ~ Reported                 Reported


                                                Tell us what you know about this vehicle


                              1          ~          ~                                                                                 (i~(7SSs111/




  ..~ 4w11er 1                        Date:             Mileage:   Source:                Comments:
  Purchased:           2006
  Type:                Personal lease X0/24/2005                   NICB                   Vehicle manufactured
  Where:               texas                                                              and shipped to original dealer
  Est. milesjyrar:     15,0~1/yr      ~ 1/22/2005              6   Red McCombs            Pre-delivery inspection completed
  Est. length ovJned: 4j3/06 -                                     Universal Toyota       State inspection completed
                      `~~~3~z~                                     San Antonio, TX        Safety inspection completed
                      (4 years)                                    210-654-1515           VIN glass etching
                                                                   universaltoyota.com    Tires) balanced
                                                                                          Steering/suspension checked
                                                                                          Washed/detailed
                                     1 2/14/2005                   Red McCombs            Vehicle sold
                                                                   U niversal Toyota
                                                                   San Antonio, TX
                                                                   210-659-7575
                                                                   universaltoyota.com
                                     04/03/2006              208   Texas               Title issued or updated
                                                                   Motor Vehicle Dept. First owner reported
                                                                   Atlanta, GA         Titled or registered as personal lease vehicle
                                                                   Title
                                                                   #24030138796100712




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                                                                                        'Two states? Vehicle
                                                                                         leasing companies often
                                                                                         title a car in one state
                                                                         -~`             but register it to be
                                                                         ~   j`'         driven in another.
                                                                                ~~
                                                                        ,~ F'i~
                        03/01/2007             Texas               Registration issued or renewed
                                               Motor Vehicle Dept. Passed safety inspection
                                               Laredo, TX
                                               Title
                                               #24030138796100712
                        06!01/2007    14,497 Don McGill Toyota       5,000 mile service performed
                                             Houston, TX             Rear brakes serviced/adjusted
                                             281-496-2000            Parking brake adjusted
                                             donmcgilltoyota.com     Oil and filter changed                         ~
                                                                     Tires rotated
                        07/11/2007    16,246   Don McGill Toyota     Engine checked
                                               Houston, TX
                                               281-496-2000
                                               donmcgilltoyota.com
                        1 1/16/2007            DeMontrond           Vehicle serviced
                                               Chevrolet, Hyundai,
                                               Toyota, And Scion
                                               Texas City, TX
                                               281-337-1100
                                               demontrondgulffreewa
                                               y.com
                        03/01/2008             Texas               Registration issued or renewed
                                               Motor Vehicle Dept. Passed safety inspection
                                               Laredo, TX
                                               Title
                                               #24030138796100712
                             _.
                        03/04/2008    26,261   Texas                 Passed emissions inspection
                                               Inspection Station
                                               Laredo, TX
                        03/12/2008    26,461   Texas                 Passed emissions inspection
                                               Inspection Station
                                               Laredo, TX
                        07/08/2008    28,703 DeMontrond           Four wheel alignment performed
                                             Chevrolet, Hyundai,  Tires mounted and balanced
                                             Toyota, And Scion
                                             Texas City, TX
                                             281-337-1100
                                             demontrondgulffreewa
                                             y.com
                        02/07/2009    36,175 Joe Myers Toyota        Tire condition and pressure checked
                                             Houston, TX             Washed/detailed
                                             281-890-8700            Oil and filter changed
                                             joemyerstoyota.com      Tires rotated
                        03/01/2009             Texas               Registration issued or renewed
                                               Motor Vehicle Dept. Passed safety inspection
                                               Laredo, TX
                                               Title
                                               #24030138796100712
                        05/08/2009    41,338 Joe Myers Toyota        Washed/detailed
                                               Houston, TX           Tires rotated and balanced
                                              281-890-8700           Oil and filter changed
                                              joemyerstoyota.com
                                           _.      _ . ...
                        06/30/2009    45,151 Joe Myers Toyota        Airbag sensor replaced
                                              Houston, TX
                                              281-890-8700
                                              joemyerstoyota.com
                                                                            _
                        1 1/16!2009   52,705




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                                                                     Joe Myers Toyota       5,000 mile service performed
                                                                     Houston, TX            Air filter replaced                             ~
                                                                     281-890-8700           Oil and filter changed
                                                                     joemyerstoyota.com     Tires rotated
                                                                                            Power steering fluid flushed/changed
                                         02/24/2010         58,190   Joe Myers Toyota       5,000 mile service pertormed
                                                                     Houston, TX            Oil and filter changed
                                                                     281-890-8700           Tires rotated
                                                                     joemyerstoyota.com
                                         02/26/2010         58,644   Warrantech             Service contract issued
                                                                     Automotive, Inc.
                                                                     Laredo, TX
                                                                     800-833-8801
                                                                     warrantech.com


     ..~,;OWII+~r 2                      Date:         Mileage:      Source:                 Comments:
      Purchased:            2010             _                                    __     __.       _...
     Type:                  Personal     04/13/2010                  Texas                  Title issued or updated
      Where:                Texas                                    Motor Vehicle Dept.    New owner reported
      Est. length advned:   4/13/10 -                                Laredo, TX             Loan or lien reported
                            7/9/10                                   Title
                            {2 months)                               #24031140257093527
                                                       _.                                                            _ „
                                         05/24/2010         63,260   Joe Myers Toyota       Pre-delivery inspection completed
                                                                     Houston, TX            Fuel injection system flushed/serviced
                                                                     281-890-8700           Brake fluid flushed/changed
                                                                     joemyerstoyota.com     Front brakes replaced
                                                                                            Rear brakes serviced/adjusted
                                                                                            Oil and filter changed


      ~QW~~~ ~                           Date:         Mileage:      Source:                Comments:
     Purchased:              2010              _.
     Type:                   Personal    07/09/2010         66,197   Arizona                Registration issued or renewed
     Where:                  Arizona                                 Motor Vehicle Dept.    New owner reported
     Esk. milesjyear:        9,501/yr                                Phoenix, AZ
     Est, length owned:      7/9/10 -                                Title
                             8/1/12                                  #536M010190019
                             {2 years)   ~ 0/02/2010        68,442   Camelback Toyota ~ Maintenance inspection completed
  Low mileage)                                                       Phoenix, AZ         5,000 mile service performed
  This owner drove                                                   602-264-2841        Rear brakes serviced/adjusted
  less than the             ~,~                                      camelbacktoyota.com Oil and filter changed
~ industry average                                                                       Tires rotated
  of 15,000 miles              '~+ ~     03/12/2011         73,233   Camelback Toyota    Maintenance inspection completed
  per year.                  ~
                             ~                                       Phoenix, AZ         5,000 mile service performed
                                                                     602-264-2841        Rear brakes serviced/adjusted
~                                                                    camelbacktoyota.com Oil and filter changed
                                                                                         Tires rotated
                                         04/28/2011         74,642   Warrantech             Service contract claim
                                                                     Automotive, Inc.       Suspension serviced
                                                                     800-833-8801
                                                                     warrantech.con~
                                         04/29/2011                  Camelback Toyota       Maintenance inspection completed
                                                                     Phoenix, AZ
                                                                     602-264-2841
                                                                     camelbacktoyota.com
~                                              _..                                                        _.    __
                                         09/10/2011         77,000   Arizona                Passed emissions inspection
                                                                     Inspection Station
                                                                     Maricopa County
m                                        09/28/2011         78,379   Camelback Toyota       Maintenance inspection completed
                                                                     Phoenix, AZ            5,000 mile service performed
                                                                     602-264-2841           Rear brakes serviced/adjusted
                                                                     camelbacktoyota.com    Oil and filter changed
                                                                                            Tires rotated
~                                        04/28/2012         84.087




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                                                               Camelback Toyota            Maintenance inspection completed
                                                               Phoenix, AZ                 30,000 mile service performed
                                                               602-264-2841                Spark plugs) replaced
                                                               camelbacktoyota.com         Air filter replaced
                                                                                           Cabin air filter replaced/cleaned
                                                                                           Differential fluid flushed/changed
                                                                                           Oil and filter changed
                                                                                           Tires rotated and balanced
                                                                                           Brakes serviced
                                                                                           Washed/detailed
                                                                                           Fuel system cleaned/serviced
                                      06/22/2012      85,426   Camelback Toyota    Four tires mounted and balanced
                                                               Phoenix, AZ         Tire repaired
                                                               602-264-2841
                                                               camelbacktoyota.com
                                      07/30/2012               Riverview Toyota            Pre-delivery inspection completed
                                                               Mesa, AZ                    Maintenance inspection completed
                                                               480-655-4400                Cabin air filter replaced/cleaned
                                                               riverviewtoyota.com         Emissions inspection completed
                                                                                           Antenna replaced
                                                                                           Brake fluid flushed/changed
                                                                                           Air filter replaced
                                                                                           Wipers) replaced
~                                                                                          Battery replaced
                                                                                           Interior trim checked
                                                                                           Exterior trim checked
                                                                                           Washed/detailed
                                      08/01/2012      86,445   Dealer Inventory            Vehicle offered for sale
                                                                                                                            __         _
                                      08/03/2012               Arizona              Dealer took title of this vehicle
                                                               Motor Vehicle Dept.  while it was in inventory
                                                               Mesa, AZ             Title or registration issued
                                                               Title #6106012216088
                                      08/10/2012      86,570   Riverview Toyota            Vehicle sold
                                                               Mesa, AZ
                                                               480-655-4400
                                                               riverviewtoyota.com
                                      09/14/2012      87,000   Arizona                     Passed emissions ins ection
                                                               Inspection Station
                                                               Maricopa County


    II,~o1ri►It~l" 4                  Date:        Mileage:    Source:                     Comments:
    Aurchased:           ZQ12                      _.               __ ..
    Type:                Personal     09/20/2012               Arizona                     Registration issued or renewed
    4vhere:              Arizona                               Motor Vehicle Dept.         New owner reported
    Est. length owned:   9/24/12 -                             Scottsdale, AZ              Loan or lien reported
                         ?_/21/13                              Title #6108012264020
                         (5 man[hs)   02/21/2013               Riverview Toyota            Pre-delivery inspection completed
                                                               Mesa, AZ                    Maintenance inspection completed
                                                               480-655-4400                Sunvisor(s) replaced/repaired
                                                               riverviewtoyota.com         Oil and filter changed
                                                                                           Emissions inspection completed
                                                                                           Cabin air filter replaced/cleaned
                                                                                           Tires) balanced
                                                                                           Interior trim checked
                                                                                           Exterior trim checked
                                                                                           Tire condition and pressure checked
                                                                                           Washed/detailed
                                           _.                                        __.                                         _.
                                      02/21/2013      93,494   Riverview Toyota            Vehicle offered for sale
                                                               Mesa, AZ
                                                               480-655-4400
                                                               riverviewtoyota.com                                                           a
                                      02/23/2013               Riverview Toyota            Vehicle sold
                                                               Mesa, AZ




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                                                                                                                      _               __
                                                                  480-655-4400
                                                                  rivenriewtoyota.com

  ~Qwner 5                            Date:          Mileage:     Source:                   Comments:
  Purchased:               2013
  Type:                    Personal   03/22/2013                  Arizona              Registration issued or renewed
  W here:                  Arizona                                Motor Vehicle Dept.  New owner reported
  Est, length owned:       3/22/13                                Mesa, AZ             Loan or lien reported
                           718113                                 Title #6110013081028
                                      06/19/2013       103,000 Arizona                     Passed emissions inspection
                                                               Inspection Station
                                                               Maricopa County
                                                           ..                                                       _._
                                      07/08/2013               Riverview Toyota            Pre-delivery inspection completed
                                                               Mesa, AZ                    Maintenance inspection completed
                                                               480-655-4400                Anti-theft/keyless device/alarm removed
                                                               riverviewtoyota.com         Air filter replaced
                                                                                           Oil and filter changed
                                                                                           Cabin air filter replaced/cleaned
                                                                                           Alignment pertormed
                                                                                           Interior trim repaired
                                                                                           Emissions inspection completed
                                                                                           A/C refrigerant recharged
                                                                                           Four wheel alignment performed
                                                                                           Interior trim checked
                                                                                           Washed/detailed
                                      07/08/2013       103,367    Riverview Toyota         Vehicle offered for sale
                                                                  Mesa, AZ
                                                                  480-655-4400
                                                                  riverviewtoyota.com
                                      07/12/2013                  Riverview Toyota         Vehicle sold
                                                                  Mesa, AZ
                                                                  480-655-4400
                                                                  riverviewtoyota.com


   =flwner 6                          Date:          Mileage:     Source:                   Comments:
  Purchased:              201.3                                                                                                            ..
  Type:                   Personal    08/26/2013                  Arizona              Registration issued or renewed
  Where:                  Arizona                                 Motor Vehicle Dept.  New owner reported
  Est. length otivned:    Ft/26/13                                Title #6110013238003 Loan or lien reported
                          present
                         (1 vr. 10                                                                   .,          Avoid financial
                                                                                                                 headaches. Make sure
                                                                                                                 the loan has been paid
                                                                                                 ti-,may.,;     'off if you're buying from
                                                                                                                 a private seller.
                                                                                                   ~:~
                                      01/22/2014       106,552    Lightning Lube            Oil and filter changed
                                                                  Scottsdale, AZ
                                                                  480-946-1967
                                      09/29/2014                  Toyota Motor Sales,      Manufacturer Recall Issued
                                                                  USA, Inc.                NHTSA #14V604
                                                                                           Recall #E12 Safety Recall E02(E12)
                                                                                           Preliminary
                                                                                           Notification -Certain 2005-2011 Model Year
                                                                                           Tacoma
                                                                                           Pre-Runner and 4x4 Vehicles Rear Leaf Spring r~
                                                                                           Status: Remedy Not Available

                                                                                           - Learn more about this recall


                                       '. Description: The subject vehicles? rear suspension system contains leaf springs that are
                                          constructed of either three or four leaves. There is a possibility that a leaf could fracture due
                                          to stress and corrosion. If this occurs and the vehicle continues to be operated, the broken
                                          leaf could move out of position and contact surrounding components, including the fuel tank.




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CARFAX  Vehicle History Report for this
 Case 2:15-cv-02171-FMO-FFM             2006 TOYOTA
                                    Document        TACOMA
                                               112 Filed 02/27/17 Page 18 of 20 Page
                                                               PRERUNNERDO...   Page 7IDof 8
                                             #:1934

                                         If the broken leaf contacts the fuel tank repeatedly, it -could puncture the tank and cause a
                                         fuel leak. In the presence of an ignition source, this could result in a fire.

                                         Remedy: Toyota is currently preparing the remedy for this condition.




                                                                   Tell us what you know about this vehicle
 ~3 ~                                                       ~                 ~,

 Have Questions? Consumers, please visit our Help Center at www.carfax.com. Dealers or Subscribers, please visit our Help Center at
                                                     www.carfaxon line,com.


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   CARFAX Price AdjustmentT""
   Accidents, service records, number of owners and many other history factors can affect a vehicle's value. The CARFAX Price
   Adjustment is a tool that analyzes millions of used car transactions to measure how the combination of all the information reported to
   CARFAX affects the value of a particular vehicle. The vehicle's retail book value plus the CARFAX Price Adjustment will give you a
   more accurate measure of the vehicle's value. Use this tool, along with a vehicle inspection and test drive, to make a better decision
   about your next used car.

   First Owner
   When the first owners) obtains a title from a Department of Motor Vehicles as proof of ownership.

  Manufacturer Recall
  Automobile manufacturers issue recall notices to inform owners of car defects that have come to the manufacturer's attention. Recalls
  also suggest improvements that can be made to improve the safety of a particular vehicle. Most manufacturer recalls can be repaired
  at no cost to you.

  New Owner Reported
  When a vehicle is sold to a new owner, the Title must be transferred to the new owners) at a Department of Motor Vehicles.

   Ownership History
   CARFAX defines an owner as an individual or business that possesses and uses a vehicle. Not all title transactions represent
ix changes in ownership. To provide estimated number of owners, CARFAX proprietary technology analyzes all the events in a vehicle
   history. Estimated ownership is available for vehicles manufactured after 1991 and titled solely in the US including Puerto Rico.
   Dealers sometimes opt to take ownership of a vehicle and are required to in the following states: Maine, Massachusetts, New Jersey,
   Ohio, Oklahoma, Pennsylvania and South Dakota. Please consider this as you review a vehicle's estimated ownership history.

  Title Issued
  A state issues a title to provide a vehicle owner with proof of ownership. Each title has a unique number. Each title or registration
  record on a CARFAX report does not necessarily indicate a change in ownership. In Canada, a registration and bill of sale are used
3 as proof of ownership.

  Toyota Recall
  Toyota Motor Sales, USA, Inc. provides CARFAX with recall information within the last 10 model years for vehicles originally
~ marketed or sold in the United States of America and its territories. Only open Safety or Emissions recalls, where the remedy has not
  been completed, will be listed. While Toyota provides data updates to CARFAX on a regular basis, this report may not include very
  recent activity. For the most current information on recall activity for any Toyota vehicle, go to http://toyota.com/recall.



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O
Covered by United States Patent Nos. 7,113,853; 7,778,841; 7,596,512, 8,600,823; 8,595,079; 8,606,648; 7,505,838.
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 Case 2:15-cv-02171-FMO-FFM             2006 TOYOTA
                                    Document        TACOMA
                                               112 Filed 02/27/17  Page 19 of 20 Page
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                                                                                        of 8
                                             #:1935


   have reviewed and received a copy of the CARFAX Vehicle History Report for this 2006 TOYOTA TACOMA
  vehicle (VIN: 3TMJU62NX6M011310), which is based on information supplied to CARFAX and available as of
  6/27/15 at 2:06 PM (EDT).



   Customer Signature                         Date      Dealer Signature                           Date




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